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                                                                   May 28, 2019

               Hon. Kimba M. Wood
               United States District Judge
               Southern District of New York
               500 Pearl Street
               New York, N.Y. 10007

                                                           Re:     United States v. Alexandru Burducea,
                                                                   18 Cr. 217 (KMW)


               Dear Judge Wood:

                      With the government’s consent, I respectfully request a 30-day adjournment of Alexandru
               Burducea’s sentence, presently scheduled for June 18, as we seek to address various outstanding
               issues with the government, including restitution.

                              Thank you for considering this request.

                                                                   Respectfully,


                                                                   Richard Levitt



               cc:            AUSA Noah Solowiejczyk (by email and ECF)
                              USPO (Jonathan_Bressor@nysp.uscourts.gov)
